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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



 PENGCHENG SI                                          Case No. 1:22-cv-02541-TNM
                               Plaintiff,

               v.

 BED BATH & BEYOND
 CORPORATION, et al.,
                               Defendants.



                        NOTICE OF APPEARANCE OF COUNSEL

To:    The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

substitute counsel for Pengcheng Si.

 Dated: September 8, 2022.                            /s/ Steven J. Toll

                                                      Steven J. Toll, D.C. Bar # 225623
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